            Case 4:24-cv-01454-JST      Document 130   Filed 03/25/25   Page 1 of 9




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                                    UNITED STATES DISTRICT COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA
                                         OAKLAND DIVISION
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     Abdi Nazemian, et al.,                      Case No. 4:24-cv-01454-JST (SK)
11                                               Case No. 4:24-cv-02655-JST (SK)
                    Plaintiffs,
12                                               JOINT STIPULATION AND ORDER RE
            vs.                                  DEPOSITION PROTOCOL SUBMISSION
13                                               DEADLINE
     NVIDIA Corporation,
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                    Defendant.
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     Andre Dubus III, et al.,
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                    Plaintiffs,
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            vs.
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     NVIDIA Corporation,
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                    Defendant.
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28     Case No. 4:24-cv-01454-JST (SK)
       Case No. 4:24-cv-02655-JST (SK)
30              JOINT STIPULATION AND ORDER RE DEPOSITION PROTOCOL SUBMISSION DEADLINE

31
            Case 4:24-cv-01454-JST          Document 130         Filed 03/25/25      Page 2 of 9




 1          Pursuant to Civil Local Rule 7-12, the undersigned Parties to the above-captioned action, by and

 2   through their respective counsel of record, hereby stipulate the following:

 3          1.      WHEREAS, on August 29, 2024, the Parties appeared before the Honorable Judge Tigar

 4   for an Initial Case Management Conference, (Case No. 4:24-cv-01454-JST (SK) (“Nazemian”), ECF No.

 5   66; Case No. 4:24-cv-02655-JST (SK) (“Dubus”), ECF No. 56), and the Court ordered the Parties to meet

 6   and confer on a proposed case schedule (Nazemian, ECF No. 68; Dubus, ECF No. 57);

 7          2.      WHEREAS, on September 9, 2024 in the Nazemian case and on September 10, 2024 in

 8   the Dubus case the Parties submitted a stipulated case schedule, which included March 25, 2025 as the

 9   deadline by which the parties must submit an agreed upon Deposition Protocol or a joint letter brief

10   regarding any disputed areas (Nazemian, ECF No. 70; Dubus, ECF No. 58);

11          3.      WHEREAS, on September 11, 2024, the Court ordered the parties’ stipulated case

12   schedule, including the Deposition Protocol submission deadline (Nazemian, ECF No. 71; Dubus, ECF

13   No. 59);

14          4.      WHEREAS, on March 6 and 12, 2025, additional counsel joined the case for Plaintiffs

15   (Nazemian, ECF Nos. 106-122, 124-26);

16          5.      WHEREAS, the Parties believe that an extension of the Deposition Protocol deadline is

17   needed so they can make progress toward a stipulated protocol; and

18          6.      WHEREAS, the requested extension will not affect any other date scheduled in this case;
19          NOW, THEREFORE IT IS HEREBY STIPULATED AND AGREED by and between the Parties

20   and their respective counsel, subject to the Court’s approval, that the Parties’ deadline to submit an

21   agreed upon Deposition Protocol or a joint letter brief regarding any disputed areas, shall be extended

22   from March 25, 2025 to April 24, 2025.

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28     Case No. 4:24-cv-01454-JST (SK)          1
       Case No. 4:24-cv-02655-JST (SK)
30              JOINT STIPULATION AND ORDER RE DEPOSITION PROTOCOL SUBMISSION DEADLINE
31
           Case 4:24-cv-01454-JST    Document 130      Filed 03/25/25     Page 3 of 9




 1   Dated: March 21, 2025                  Respectfully submitted,
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      Case No. 4:24-cv-02655-JST (SK)
30             JOINT STIPULATION AND ORDER RE DEPOSITION PROTOCOL SUBMISSION DEADLINE
31
         Case 4:24-cv-01454-JST     Document 130      Filed 03/25/25     Page 4 of 9




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     Case No. 4:24-cv-02655-JST (SK)
30            JOINT STIPULATION AND ORDER RE DEPOSITION PROTOCOL SUBMISSION DEADLINE
31
         Case 4:24-cv-01454-JST     Document 130     Filed 03/25/25     Page 5 of 9




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                                         Class
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     Case No. 4:24-cv-02655-JST (SK)
30            JOINT STIPULATION AND ORDER RE DEPOSITION PROTOCOL SUBMISSION DEADLINE
31
           Case 4:24-cv-01454-JST    Document 130      Filed 03/25/25     Page 6 of 9




     Dated: March 21, 2025                 Respectfully submitted,
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      Case No. 4:24-cv-02655-JST (SK)
30             JOINT STIPULATION AND ORDER RE DEPOSITION PROTOCOL SUBMISSION DEADLINE
31
           Case 4:24-cv-01454-JST    Document 130       Filed 03/25/25         Page 7 of 9




     Dated: March 21, 2025                Respectfully Submitted,
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28    Case No. 4:24-cv-01454-JST (SK)          6
      Case No. 4:24-cv-02655-JST (SK)
30             JOINT STIPULATION AND ORDER RE DEPOSITION PROTOCOL SUBMISSION DEADLINE
31
            Case 4:24-cv-01454-JST           Document 130         Filed 03/25/25      Page 8 of 9




 1                                                     ORDER

 2          Pursuant to the stipulation of the Parties, it is hereby ORDERED that the Parties’ deadline for

 3   filing an agreed upon Deposition Protocol, or filing a joint letter brief with the Parties’ respective

 4   proposals shall be continued to April 24, 2025.

 5

 6   IT IS SO ORDERED.

 7
     Dated: March 25, 2025                                          _________________________________
 8                                                                        The Honorable Sallie Kim
 9                                                                         U.S. Magistrate Judge

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28     Case No. 4:24-cv-01454-JST (SK)              1
       Case No. 4:24-cv-02655-JST (SK)
30                            ORDER RE DEPOSITION PROTOCOL SUBMISSION DEADLINE
31
            Case 4:24-cv-01454-JST             Document 130       Filed 03/25/25      Page 9 of 9




 1                              ATTESTATION PURSUANT TO CIVIL L.R. 5-1
 2          The filer attests that the other signatories listed, on whose behalf the filing is also submitted,
 3   are registered CM/ECF filers and concur in the filing’s content and have authorized the filing.
 4

 5   Dated: March 21, 2025                                                  /s/ Sean S. Pak
                                                                            Sean S. Pak
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28     Case No. 4:24-cv-01454-JST (SK)                  1
       Case No. 4:24-cv-02655-JST (SK)
30                                       ATTESTATION PURSUANT TO CIVIL L.R. 5-1
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